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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT of INDIANA
                                       Indianapolis Division
                                                                                         FILED
                                                                                        10/11/2024
                                                                                  U.S. DISTRICT COURT
  JOEY KIMBROUGH,                                                              SOUTHERN DISTRICT OF INDIANA
                                                                                   Kristine L. Seufert, Clerk
                    Plaintiff,
                                                      Case No. 1:22-cv-1993-TWP-MJD
          v.
  AMERICAN EXPRESS COMPANY AKA
  AMERICAN EXPRESS NATIONAL                           Honorable Tanya Walton Pratt
  BANK;                                             Magistrate Judge Mark J. Dinsmore
  and
  TRANS UNION LLC (settled and
  dismissed)
                    Defendants.




          PLAINTIFF’S RESPONSE TO THE COURT’S SHOW CAUSE ORDER
    1. Introduction

    The Plaintiff, appearing pro se, respectfully submits this Response to the Court’s Order to

 Show Cause (Id. Docket 114). As detailed herein, the Plaintiff contends that the Order

 Compelling Arbitration is legally invalid and should be vacated, as AMEX, through its extensive

 participation in the litigation process, has waived its right to compel arbitration. This position is

 supported by established 7th Circuit precedent. Moreover, the misapplication of the arbitration

 agreement’s terms by shifting the burden to initiate arbitration onto the Plaintiff is improper,

 contrary to the terms of the agreement, and unsupported by legal principles, including recent 7th

 Circuit rulings.
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         In addition to the numerous procedural violations that have been meticulously detailed by

 the Plaintiff and either dismissed or overruled by the Court, there exist substantial grounds to

 vacate the Void Orders issued by this Honorable Court. These procedural infractions are not

 merely technical oversights but constitute serious violations of both local rules and state law,

 thereby undermining the integrity of the proceedings. Among the most egregious of these

 violations are: (1) Counsel’s failure to file a proper appearance prior to submitting pleadings, in

 direct contravention of Local Rule 83-7; (2) Counsel’s failure to submit a mandatory motion for

 withdrawal, leaving the Plaintiff without proper notification or compliance with governing

 ethical obligations; and (3) multiple instances of unauthorized practice of law by counsel, in

 blatant violation of Indiana statutory requirements. These infractions, taken together, raise

 serious concerns regarding procedural fairness and have been properly preserved on the record

 for appellate scrutiny. The Plaintiff submits that these issues alone, irrespective of the

 substantive legal arguments, warrant appellate review and provide further compelling

 justification for vacating the erroneous orders issued by this Court.


     2. Magistrate Judge Dinsmore’s Order and 7th Circuit Case Law Supporting Waiver
        of Arbitration Due to Participation in Discovery
     As established in Magistrate Judge Dinsmore’s Order (Id. Docket 19) filed on May 26, 2023,

 the case entered the discovery phase, and all parties, including AMEX, were expected to actively

 engage in gathering admissible evidence to support their claims or defenses in preparation for

 trial. Specifically, the order stated:


    "This case is entering the discovery phase, which means each party should be seeking
 admissible evidence to support the party's claims or defenses and preparing its case for trial."
     During this discovery phase, AMEX, through its active participation in pretrial litigation for

 312 days before filing its motion to compel arbitration, waived its right to enforce arbitration.
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 AMEX’s Participation in Litigation Activities


         From the initial filing of the complaint on October 7, 2022, until the Motion to Compel

 Arbitration was filed on August 15, 2023, AMEX participated actively in litigation. These

 actions, including engaging in discovery discussions, are outlined in various email exchanges

 between the Plaintiff and AMEX’s counsel, as detailed in Docket 104. Examples of these email

 communications, which occurred between May 11, 2023, and June 22, 2023, show that

 AMEX’s counsel was actively involved in discovery coordination. During this period, AMEX

 also filed motions, communicated regarding discovery matters, and engaged in substantive

 litigation activities. Importantly, Docket 111 notes that during these exchanges, AMEX’s

 counsel had not yet been fully admitted to practice before the Court, further highlighting the

 extent of AMEX’s participation in litigation. (emphasis added)


 Waiver of Arbitration Under 7th Circuit Precedent


     The 7th Circuit has consistently held that when a party engages in litigation activities,

 particularly discovery, before seeking arbitration, it waives the right to arbitrate. The following

 cases from the 7th Circuit support the Plaintiff’s argument that AMEX’s extensive participation

 in this case constitutes a clear waiver of its arbitration rights:


     1. Cabinetree of Wisconsin, Inc. v. Kraftmaid Cabinetry, Inc., 50 F.3d 388 (7th Cir. 1995):

         In this case, the defendant sought arbitration after engaging in litigation activities for

         several months, including discovery. The 7th Circuit found that the defendant waived its

         right to arbitration by participating in pretrial proceedings and then attempting to compel

         arbitration. The court reasoned that a party cannot invoke the litigation machinery and

         later switch to arbitration as a fallback when it suits their interests. Similarly, AMEX’s
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       312 days of participation in discovery and pretrial activities before seeking arbitration is

       a clear waiver of its arbitration rights.


    2. St. Mary’s Medical Center of Evansville, Inc. v. Disco Aluminum Products Co., 969

       F.2d 585 (7th Cir. 1992):

       In St. Mary’s, the court found that the defendant waived its right to arbitration after

       litigating for ten months, including engaging in discovery. The court ruled that a

       defendant who actively participates in litigation demonstrates an intent to resolve the

       dispute in court, thereby waiving any subsequent claim to arbitrate. In the present case,

       AMEX’s involvement in discovery following the May 26, 2023, Order, along with its

       312 days of active litigation, mirrors the circumstances in St. Mary’s, further supporting

       the waiver argument.


    3. Grumhaus v. Comerica Securities, Inc., 223 F.3d 648 (7th Cir. 2000):

       In Grumhaus, the court upheld the denial of arbitration where the defendant participated

       in litigation, including discovery, for over two years before attempting to compel

       arbitration. While AMEX’s delay is shorter than in Grumhaus, its 312 days of active

       litigation before filing its motion to compel arbitration is substantial and similarly

       constitutes a waiver of the right to arbitrate.


    4. Halim v. Great Gatsby’s Auction Gallery, Inc., 516 F.3d 557 (7th Cir. 2008):

       In this case, the court found that the defendant waived its right to arbitration by litigating

       for over a year before seeking to arbitrate. AMEX’s 312-day delay in the present case,

       combined with its active participation in discovery and pretrial activities, mirrors the

       facts in Halim and supports a finding of waiver.
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     5. Kawasaki Heavy Industries, Ltd. v. Bombardier Recreational Products, Inc., 660 F.3d

         988 (7th Cir. 2011):

         The court upheld the denial of arbitration where the party seeking arbitration had

         substantially invoked the litigation process before requesting arbitration. In this case,

         AMEX’s engagement in discovery and litigation activities over a 312-day period

         similarly constitutes a waiver of its right to compel arbitration under the reasoning in

         Kawasaki.


 Conclusion on Waiver of Arbitration


     AMEX’s extensive participation in pretrial litigation and discovery activities for 312 days

 prior to filing its motion to compel arbitration constitutes a clear waiver of its right to arbitrate

 under binding 7th Circuit precedent. Therefore, Plaintiff respectfully requests that the Court

 vacate the Order Compelling Arbitration and allow the case to proceed to trial.


     3. Misapplication of the Arbitration Agreement’s Terms


     The Plaintiff further contends that the Court’s directive requiring the Plaintiff to initiate

 arbitration constitutes a misapplication of the terms of the alleged arbitration agreement

 (“agreement”). The agreement, as presented by AMEX, explicitly places the burden of initiating

 arbitration on the party electing arbitration, which in this case is AMEX, not the Plaintiff. By

 shifting this responsibility to the Plaintiff, the Court has overstepped its authority and

 disregarded the terms of the alleged contractual agreement.


 Failure to Present Valid Arbitration Agreement
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        AMEX has failed to provide sufficient proof of a valid arbitration agreement. The only

 evidence offered by AMEX is the Declaration of Keith Herr, which relies on general references

 to “normal business practices” rather than presenting the original contract or a properly

 authenticated duplicate. The Best Evidence Rule, under Federal Rule of Evidence 1002,

 requires that the original document be provided to prove the terms of a contract. No original or

 authenticated agreement has been provided by AMEX for the accounts referenced, making any

 motion to compel arbitration legally deficient.


 Supporting Case Law from the 7th Circuit


    1. Wallrich v. Samsung Electronics America, Inc., No. 23-2842 (7th Cir. 2024):

        In Wallrich, the 7th Circuit, in a recent ruling, reversed a decision compelling

        arbitration because there was insufficient proof of valid arbitration agreements. The court

        emphasized that an arbitration order cannot be compelled without proper evidence of an

        agreement’s existence, a position that applies directly to the present case. Here, AMEX

        has similarly failed to produce a valid arbitration agreement, relying solely on

        declarations about “normal business practices.” The Wallrich decision underscores the

        necessity for proper proof before compelling arbitration.


    2. Sosa v. Onfido, Inc., 8 F.4th 631 (7th Cir. 2021):

        In Sosa, the 7th Circuit held that arbitration orders are reviewed de novo and must be

        supported by sufficient evidence. In the present case, there is insufficient evidence of a

        valid arbitration agreement governing the accounts referenced by AMEX, and the Court’s

        directive requiring Plaintiff to initiate arbitration contradicts both the contractual terms

        and binding precedent.
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 Conclusion on Misapplication of Arbitration Terms


    Plaintiff respectfully requests that the Court correct the misapplication of the arbitration

 agreement by shifting the responsibility for initiating arbitration back to AMEX, as stipulated by

 the terms of the agreement. Furthermore, AMEX must produce the original arbitration agreement

 under the Best Evidence Rule, failing which the motion to compel arbitration must be denied.


    4. Relief Sought


 Based on the above, Plaintiff respectfully requests that the Court:


    1. Vacate the Order Compelling Arbitration.
    2. In the alternative, Correct the misapplication of the arbitration agreement and shift the
       responsibility to initiate arbitration back to AMEX.
    3. Require compliance with the Best Evidence Rule, mandating that AMEX produce the
       original arbitration agreement.
    4. Invalidate the arbitration requirement as to certain accounts for which no valid agreement
       has been produced.
    5. In the alternative, the Plaintiff requests that this Honorable Court dismiss the case and
       issue a final judgment pursuant to Federal Rule of Civil Procedure 58, so that a proper
       appellate review can be initiated.

                                                       Respectfully Submitted,

                                                       /s/ Joey Kimbrough
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                                        Certificate of Service

        I hereby certify that on October 11th, 2024, I electronically filed the foregoing with the
 Clerk of the Court by email with attachments as is required by the Court.

 Distribution:


 All ECF-registered counsel of record

                                                       Respectfully Submitted,
                                                       /s/ Joey Kimbrough
